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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                           CASE NO. 1:07-cr-00013-MP-AK

RONALD W. CLAFFEY,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on Doc. 60, Motion to Continue Sentencing Hearing, filed

by Defendant Claffey. In the motion, Defendant states that counsel did not timely open the

Email that Probation sent him that contained the PSR. Because of this, Defendant requests that

his sentencing hearing, currently set for October 24, 2007, be continued. The Government does

not object to Defendant’s motion. Therefore, Defendant’s motion is granted, and the sentencing

hearing is hereby reset for Thursday, November 15, 2007, at 10:00 a.m.


       DONE AND ORDERED this           23rd day of October, 2007


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
